                          EXHIBIT I
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                                       EXHIBIT I

      SUMMARY OF PROFESSIONAL SERVICES RENDERED BY TIMEKEEPER
         FOR THE PERIOD OF JANUARY 1, 2023 THROUGH JULY 31, 2023

                                       (Partners)

  NAME OF PROFESSIONAL               EFFECTIVE
                                    HOURLY RATE            TOTAL HOURS      FEES
    (in alphabetical order)                                  BILLED
                                     (Capped at $700 per                   BILLED
          PARTNERS                         Hour)
 Bair, Jesse J.                                 $625.00           168.70 $105,437.50
 Bair, Jesse J. – Travel Rate                   $312.50            41.80 $13,062.50
 Burns, Timothy W.                              $700.00           176.30 $123,410.00
 Burns, Timothy W. – Travel Rate                $350.00            54.40 $19,040.00
                                    Totals for Partners:          441.20 $260,950.00

                                      (Associates)

 NAME OF PROFESSIONAL                                          TOTAL
                                   EFFECTIVE HOURLY                         FEES
     (in alphabetical order)                                   HOURS
                                         RATE                              BILLED
         ASSOCIATES                                            BILLED
 Au, Leakhena                                       $420.00        37.60   $15,792.00
 Cawley, Brian P.                                   $420.00        40.80   $17,136.00
 Gurewitz, Kacy C.                                  $420.00         7.00    $2,940.00
 Kuenzi, Nathan                                     $420.00        38.10   $16,002.00
 Sticklen, Katie                                    $378.00         2.00      $756.00
                                      Totals for Associates:      125.50   $52,626.00

                                   (Paraprofessionals)

 NAME OF PROFESSIONAL                                          TOTAL
                                   EFFECTIVE HOURLY                         FEES
    (in alphabetical order)                                    HOURS
                                         RATE                              BILLED
   PARAPROFESSIONALS                                           BILLED
 Dempski, Karen                                     $360.00          .60     $216.00
 Horn-Edwards, Brenda                               $360.00         2.40      $864.00
 Turgeon, Alyssa                                    $360.00         5.60    $2,016.00
                               Totals for Paraprofessionals:        8.60    $3,096.00




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